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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

United States of America, CASE NUMBER:
21-6967-GHK
2 PLAINTIEFF(S)
$341,500 U.S. Currency, REQUEST FOR APPROVAL OF
SUBSTITUTION OR WITHDRAWAL
DEFENDANT(S) OF COUNSEL

INSTRUCTIONS

Generally, an attorney may withdraw from representing a party in a case without the Court's permission if another
member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the
only member in good standing of the Bar of this Court representing that party. In that circumstance, the withdrawing
attorney should complete and file a “Notice of Appearance or Withdrawal of Counsel” (Form G-123), instead of this
“Request for Approval of Substitution or Withdrawal of Counsel” (Form G-01).

Notably, however, Court permission for withdrawal or substitution is required if no member of the withdrawing
attorney's firm or agency will remain as counsel of record. In such circumstances, the attorney(s) seeking to withdraw
should complete and file this "Request for Approval of Substitution or Withdrawal of Counsel" (Form G-01), and submit
a proposed "Order on Request for Approval of Substitution or Withdrawal of Counsel" (Form G-01 Order).

If the circumstances surrounding an attorney's withdrawal or request to substitute other counsel are not covered by this

Form G-01, the attorney may instead file a regularly noticed motion supported by a more detailed memorandum of
points and authorities.

SECTION I - WITHDRAWING ATTORNEY

Please complete the following information for the attorney seeking to withdraw (provide the information as it currently
appears on the docket; if the attorney appeared pro hac vice, enter "PHV’" in the field for "CA Bar Number"):

Name: Allison B. Margolin CA Bar Number: 222370

Firm or agency: Allison B. Margolin, PLC

Address: 418 South Swall DriveBeverly Hills, CA 90211

Telephone Number: (310)-717-1159 Fax Number: (310)-919-0448

E-mail: allison@allisonmargolin.com

Counsel of record for the following party or parties: Ike Roberts

Other members of the same firm or agency also seeking to withdraw:

G-01 (06/13) REQUEST FOR APPROVAL OF SUBSTITUTION OR WITHDRAWAL OF COUNSEL Page 1 of 2

Case 2:21-cv-06967-RGK-MAR Document 68 Filed 01/18/24 Page 2of2 Page ID #:464
SECTION II - NEW REPRESENTATION

[-] No new counsel is necessary. The party or parties represented by the attorney(s) seeking to withdraw will continue
to be represented by another attorney/firm who has already entered an appearance as counsel of record for that
party or parties in this case, and who is a member in good standing of the Bar of this Court.

[.] The party or parties represented by the attorney(s) seeking to withdraw have not retained new counsel and wish to
proceed pro se, as self-represented litigants.

The party or parties represented by the attorney(s) seeking to withdraw have retained the following new counsel,
who is a member in good standing of the Bar of this Court:

Name: Eric Honig CA Bar Number: 140765

Firm or agency: Law Office of Eric Honig, APLC

Address: P.O. Box 10327, Marina del Rey, CA 90295

Telephone Number: 310-699-8051 Fax Number: 310-943-2220

E-mail: erichonig@aol.com

SECTION III - SIGNATURES

Withdrawing Attorney
I am currently counsel of record in this case, and am identified above in Section I as the "Withdrawing Attorney." I have

given notice as required by Local Rule 83-2.3. I hereby request that I and any other attorney(s) listed in Section I be
allowed to withdraw from this case.

Date: January 17, 2024 signature: Qleon Wlargoln
v

Name: Allison B. Margolin

New Attorney (if applicable)

I have been retained to appear as counsel of record in this case, and my name and contact information are given above in
Section II. Iam a member in good standing of the Bar of this Court.

Bee TE) 24 Signature: GF ey

eo

Name: Eric Honig

Party Represented by Withdrawing Attorney

I am currently represented by, or am an authorized representative of a party currently represented by, the Withdrawing
Attorney listed above. I consent to the withdrawal of my current counsel, and to (check if applicable):

| substitution of counsel as specified above.

[_] representing myself pro se in this case.

Bass Wy IZ, 2 Sf Signature: ME

Name: Ike Roberts

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Cv o Ly

Title: Claimant

G-01 (06/13) REQUEST FOR APPROVAL OF SUBSTITUTION OR WITHDRAWAL OF COUNSEL Page 2 of 2

